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                    23-6070
                    United States v. Zheng




                                                        In the
                                  United States Court of Appeals
                                             For the Second Circuit


                                                  August Term, 2023
                                                    No. 23-6070

                                             UNITED STATES OF AMERICA,
                                                      Appellee,

                                                            v.

                                                  XIAOQING ZHENG,
                                                 Defendant-Appellant. *



                                  On Appeal from the United States District Court
                                      for the Northern District of New York



                                               ARGUED: MAY 23, 2024
                                              DECIDED: AUGUST 28, 2024

                               Before: WESLEY, NARDINI, and ROBINSON, Circuit Judges.




                           *  The Clerk of Court is respectfully directed to amend the official caption
                    as set forth above.
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                           Defendant-Appellant Xiaoqing Zheng appeals from his
                    conviction and sentence for conspiracy to commit economic
                    espionage, in violation of 18 U.S.C. § 1831(a)(5), following a jury trial
                    in the United States District Court for the Northern District of New
                    York (Mae A. D’Agostino, District Judge). Zheng argues that there
                    was insufficient evidence supporting his conviction, that the district
                    court improperly instructed the jury on the elements of the crime, and
                    that the district court erred in calculating his advisory Guidelines
                    range. We reject each of these claims and accordingly AFFIRM the
                    judgment of the district court.



                                              THOMAS R. SUTCLIFFE (Richard D. Belliss, on
                                              the brief), Assistant United States Attorneys,
                                              for Carla B. Freedman, United States
                                              Attorney for the Northern District of New
                                              York, Syracuse, NY, for Appellee.

                                              BRADLEY L. HENRY, Blank Rome LLP, New
                                              York, NY, for Defendant-Appellant.



                    WILLIAM J. NARDINI, Circuit Judge:

                          Defendant-Appellant Xiaoqing Zheng worked as an engineer

                    in General Electric’s (“GE”) Power division, where he developed seals

                    for GE’s steam turbines. From approximately 2016 to 2018, Zheng

                    launched two business ventures in the People’s Republic of China




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                    (“PRC”) that also developed seals for aero engines and ground-based

                    turbines. At the same time that Zheng was focused on growing his

                    turbine-related businesses in China, he misappropriated GE trade

                    secrets related to turbine technology, including turbine seals, by

                    sending the trade secrets through surreptitious means to himself and

                    a co-conspirator in China. Zheng was indicted on various federal

                    charges, and a jury convicted him of one count of conspiracy to

                    commit economic espionage, in violation of 18 U.S.C. § 1831(a)(5).

                    The United States District Court for the Northern District of New

                    York (Mae A. D’Agostino, District Judge) sentenced Zheng to 24

                    months in prison.

                          On appeal, Zheng argues that there was insufficient evidence

                    supporting his conviction, that the district court improperly

                    instructed the jury on the elements of the crime, and that the district

                    court erred in calculating his advisory sentencing range under the




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                    U.S. Sentencing Guidelines. None of Zheng’s claims have merit, and

                    accordingly we AFFIRM the judgment of the district court.

                    I.    Background

                          A. Zheng’s Background

                          In 1993, Zheng immigrated to the United States from China,

                    eventually becoming a United States citizen in 2004. He holds a

                    bachelor’s degree in aeroengine design, a master’s degree in

                    aeronautical propulsion and thermophysics, and a doctorate in

                    computational fluid dynamics, all from Northwestern Polytechnical

                    University in China. In 2008, GE hired Zheng as a “sealing and

                    clearance senior engineer” in its Power division, and in 2015, he was

                    promoted to “principal engineer/technologist.” App’x at 347, 351.

                    Zheng worked at GE Power’s headquarters in Schenectady, New

                    York, where he helped to develop and test “seals technology,” such

                    as brush seals and carbon seals, for GE’s steam turbines. Id. at 788.




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                          B. The Investigation into Zheng

                          In November 2017, the FBI field office in Cincinnati, Ohio,

                    during the course of an unrelated investigation, uncovered

                    information showing that Zheng gave a presentation in June 2017 or

                    July 2017 at the Nanjing University of Aeronautics and Astronautics

                    in China titled “encapsulation and efficiency in turbomachinery.” Id.

                    at 375.    The FBI believed that Zheng’s presentation might have

                    contained proprietary GE information. After determining that Zheng

                    worked for GE Power in Schenectady, the Cincinnati field office

                    provided the information that they had obtained to the FBI field office

                    in Albany, New York, which then conveyed the information to GE

                    Power.

                          GE opened an investigation into Zheng.            As part of its

                    investigation, GE’s director of cyber security, Lucas Hilton,

                    discovered that Zheng had over 400 files on his GE computer that

                    were “encrypted, password protected[,] and renamed” using a




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                    software called AxCrypt that Zheng had downloaded from the

                    internet. Id. at 417. According to Hilton, he had never before seen a

                    GE employee encrypt files on his GE computer. In June 2018, as part

                    of its internal corporate investigation, and without Zheng’s

                    knowledge, GE installed monitoring software on his computer, which

                    would activate in response to certain “triggers,” such as the use of

                    AxCrypt, and record and save Zheng’s screen when activated. Id. at

                    419.

                           About three weeks later, on July 5, 2018, the software was

                    triggered and captured Zheng using AxCrypt to encrypt 40 files

                    relating to the design and testing of carbon seals for GE’s ground-

                    based turbines. Zheng then used a technique called steganography to

                    embed those encrypted files into an image of a sunrise, so that when

                    viewed normally, the files appeared to be no more than a picture of a




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                    sunrise. 1 Zheng emailed the sunrise image containing the 40 GE files

                    from his GE email account to his personal email account, with the

                    subject line “nice view.” App’x at 464. GE sent the July 5, 2018, video

                    capture from Zheng’s computer to the FBI.

                           C. Arrest and Indictment

                           On July 6, 2018, one day after sending the 40 GE files to his

                    personal email address, Zheng traveled to China, and he returned to

                    the United States on July 31. The next day, on August 1, the FBI

                    executed a search warrant on Zheng’s home in Niskayuna, New York.

                    Among other items, the FBI seized Zheng’s desktop computer and

                    cellphone.      In addition, Zheng, who was not yet in custody,




                           1  According to Hilton, whom the district court received “as an expert in the
                    field of cyber security investigations,” App’x at 415, “[s]teganography is a known
                    technique within the cyber security field” and can “[e]ssentially” be described as
                    “hiding something in plain sight,” id. at 413. See Steganography, Merriam-
                    Webster.com,        https://www.merriam-webster.com/dictionary/steganography
                    [https://perma.cc/9T6H-FN6D] (Definition: “the art or practice of concealing a
                    message, image, or file within another message, image, or file”; Etymology: “New
                    Latin steganographia, from Greek steganos covered, reticent (from stegein to cover) +
                    Latin -graphia -graphy”).




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                    voluntarily gave an over five-hour interview in his home with two

                    FBI agents. Zheng was arrested later that day.

                           On August 10, 2021, a grand jury returned a fourteen-count

                    superseding indictment charging Zheng and a co-conspirator, Zhaoxi

                    Zhang,2 with conspiracy to commit economic espionage, in violation

                    of 18 U.S.C. § 1831(a)(5) (Count 1), and conspiracy to commit theft of

                    trade secrets, in violation of 18 U.S.C. § 1832(a)(5) (Count 2).            It

                    further charged Zheng with four counts of economic espionage, in

                    violation of 18 U.S.C. § 1831(a) (Counts 3, 4, 7, and 8), five counts of

                    theft of trade secrets, in violation of 18 U.S.C. § 1832(a) (Counts 5, 6,

                    9, 10, and 13), and one count of making false statements, in violation

                    of 18 U.S.C. § 1001(a)(2) (Count 14). 3




                           2  We discuss Zhang’s role in the alleged conspiracy infra Section I.D.
                    Zhang, who is Zheng’s nephew and lives in China, was never arrested and
                    remains a fugitive.
                            3 Counts 11 and 12 charged Zhang with economic espionage and theft of

                    trade secrets, respectively.




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                           D. The Evidence Presented at Trial

                           A jury was empaneled on March 3, 2022. On March 21, 2022,

                    the parties rested their cases. The following evidence was presented

                    at trial.

                                    1. An Overview of the PRC and Its Economic Priorities

                           The government called as a witness Cheng Chen, a political

                    science professor at The State University of New York at Albany. The

                    district court, with no objection from the defense, received Chen as an

                    expert in political science, “specifically of Chinese government

                    structure” and “policies.” App’x at 1187.

                           Chen testified that the Chinese Communist Party (“CCP”)

                    governs “the Chinese party state,” with “no clear boundary between

                    the [CCP] and the state in China.” Id. at 1188. The CCP “oversee[s]

                    [various] administrative units as well as . . . state-owned enterprises.”

                    Id. at 1191.       Regarding universities, Chen testified that “[t]he

                    overwhelming majorit[y] of universities in China are public




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                    universities,” to which the PRC provides funding, and each

                    university has a “party committee[] to make sure that the[]

                    universit[y] toe[s] the party line.” Id. at 1201. According to Chen,

                    “[u]niversities basically are owned by the Chinese government.” Id.

                    In general, the line between public and private entities in the PRC “is

                    a very blurred one.” Id. at 1242. “[I]f you are a relatively large

                    enterprise, especially in the area of science and technology, it’s very

                    likely that the government will want to pay very close attention to

                    you and . . . try to monitor you all the time.” Id.

                            Every five years, the PRC promulgates a “five-year plan,”

                    which is an “economic blueprint[]” that identifies the PRC’s

                    “economic priorities” for the next five years. Id. at 1192. The plans

                    are “widely promoted by the government . . . [and] within the

                    Chinese public.” Id. at 1193. Provincial and municipal governments

                    are expected to help implement the five-year plans, and accordingly,




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                    “their economic policies mirror the interests of the national five-year

                    plan.” Id. at 1200.

                            As relevant here, from 2016 to 2018, the 13th Five-Year Plan was

                    in effect, which had “a broad goal of moving China up the industrial

                    chain by upgrading its entire manufacturing sector.” Id. at 1193.

                    Thus, during the 13th Five-Year Plan, economic actors were to be

                    focused “on the innovation and high tech sectors, such as aero engines

                    and industrial gas turbines, cyber security, computing, and

                    technologies for deep sea exploration and space exploration.” Id.

                            In addition to the 13th Five-Year Plan, in 2015, the PRC

                    introduced the “Made in China 2025” initiative, the purpose of which

                    was to “mov[e] China away from low-end manufacturing . . . and

                    make China . . . the world leader in science and technology,” “such as

                    aerospace, biotech, artificial intelligence, . . . [and] 5-G technology.”

                    Id. at 1195–96. Within the aerospace industry, the Made in China 2025

                    initiative focused on “turbine power generation” and “airline




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                    engines.” Id. at 1196. According to Chen, the 13th Five-Year Plan and

                    the Made in China 2025 initiative were “[c]omplementary” policies.

                    Id.

                                  2. Zheng’s Business Interests in the PRC

                                     i.    The Thousand Talents Program

                            In 2012, Zheng was selected for the PRC’s “Thousand Talents

                    [P]rogram.”     App’x at 376.      The Thousand Talents Program,

                    established in 2008, is “overseen by the Chinese Communist Party”

                    and “incentivizes individuals engaged in research and development

                    in the [United States] to transmit that knowledge and research gained

                    in the [United States] to China in exchange for salaries, research

                    funds, lab space, or other incentives.” Id. at 377. From 2016 to 2018,

                    the focus of the Thousand Talents Program aligned with the priorities

                    outlined in the 13th Five-Year Plan.




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                                     ii.   LTAT and NTAT

                            In April 2016, Zheng and Zhang formed a company in China

                    called Liaoning Tianyi Aviation Technology Company Limited

                    (“LTAT”). According to an LTAT brochure, the company “deals with

                    the research and development, design, manufacture and verification

                    of the mechanical seal technology of the aero engine and the ground

                    engine and the large compressor.” Gov’t App’x at 2; see also id. at 5

                    (explaining that the “founders of LTAT” are “developing sealing

                    technologies in LTAT for [the] next generation of aviation engines”).

                    LTAT advertised that it would fill a “gap” in China’s technology. Id.

                    at 2.

                            In addition, Zheng served as the general manager of Nanjing

                    Tianyi Aviation Technology Company Limited (“NTAT”), which was

                    founded in December 2015 in China. According to an NTAT business

                    proposal, “[a]t the early stage,” the company would “focus on R&D

                    of sealing technology for use in steam turbines and gas turbines,




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                    replacing existing technology for steam turbines, and developing gas

                    turbine sealing technology.”      Id. at 151.   At a “later stage,” the

                    company would “primarily engage in R&D of sealing technology for

                    aero-engines to replace imported engines.” Id. NTAT also advertised

                    that it would “[f]ill[] [a] gap in the country’s technology.” Id. at 87.

                            On January 25, 2016, Zheng submitted a conflict of interest form

                    to GE. In it, he stated: “[M]y brothers in China and I have registered

                    a small company in China last month to be in the business of parts

                    supplier for civil aviation engines. Although I am not working for

                    G.E. Aviation and the company would never be in direct competition

                    with G.E. Aviation, . . . there is a potential in the future it may become

                    a supplier of G.E. Aviation.” App’x at 233. On November 9, 2016, GE

                    responded, saying that there did “not appear immediately to be a

                    conflict of interest for G.E.” but that, among other things, Zheng

                    “must be extremely careful to avoid using G.E. intellectual property,




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                    proprietary information, or proprietary processes” in his “outside

                    activities.” Id. at 237.

                                     iii.      LTAT’s and NTAT’s Partnerships with
                                               Chinese Local Governments

                            The government presented evidence that Zheng sought

                    financial assistance from local governments in China to help launch

                    LTAT and NTAT. For example, agents recovered two documents

                    from Zheng’s home that were published by provincial governmental

                    entities and detailed the financial incentives available to Chinese

                    companies that developed technologies promoted by the PRC. The

                    first document, published by the Liaoyang Municipal Science and

                    Technology Bureau in September 2017 and titled “Ten Benefits for

                    Being a High and New Tech Enterprise And Accreditation Criteria

                    and Procedures for Becoming a High and New Tech Enterprise,”

                    described the financial incentives offered by the bureau to “high and

                    new tech enterprises.”        Gov’t App’x at 17–18.    Those included:

                    (1) eligibility “for a preferential tax rate of 15%”; (2) direct “cash




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                    rewards (up to a million)”; and (3) greater ease “obtain[ing] VC

                    investments and loans from major banks.” Id. at 18. The second

                    document, published by the “Liaoning Provincial S&T Department”

                    in June 2017 and titled “Enterprise S&T Innovation Policy Book,” also

                    described “incentive policies for innovation,” such as a lower tax rate

                    for qualifying companies. Id. at 36–37.

                            And, indeed, agents recovered from Zheng’s desktop computer

                    a 2017 “Project Initiation Application” that LTAT submitted, or at

                    least had prepared for submission, to the Liaoning Province

                    Committee of Industry & Information Technology for an “Aircraft

                    Engine Mechanical Seal Research and Manufacturing Project.” Id. at

                    109.    As “[b]ackground” to the project proposal, the application

                    explained that “[g]rowing China’s aviation industry is likely an

                    important avenue for promoting ‘Made in China’” and “[a]ircraft

                    engines and ground gas turbines have become the top priority in

                    China’s Thirteenth Five Year Plan.” Id. at 112. LTAT advertised that




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                    the aircraft seals it would develop would “fill[] a gap in China and

                    [would] have a historical significance in extending the use life and

                    performance of domestically manufactured aircraft engines.” Id. at

                    113. The application indicated that the project would require “130

                    Mu 4 of land” and “approximately 620 million Yuan.” Gov’t App’x at

                    128.

                            Relatedly, agents also recovered text and audio messages

                    between Zheng and Zhang that were sent over the application

                    WeChat and indicated that they were meeting with, and seeking

                    funding from, local government leaders for NTAT and LTAT. See,

                    e.g., id. at 95 (August 26, 2016, message from Zhang to Zheng stating

                    that the “Provincial Standing Committee” had “approved” the “50

                    million direct investment fund . . . we applied for”); id. at 89 (March

                    17, 2016, message from Zhang to Zheng stating that “[o]ur Governor




                            4A mu, sometimes transliterated as “mou,” is approximately 0.165 acres,
                    or      666.5    square     meters.          See      Mou,    Britannica.com,
                    https://www.britannica.com/science/mou [https://perma.cc/T6TK-6AWY].




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                    is visiting our company on the 27th of this month”); id. at 91 (March

                    30, 2016, message from Zhang to Zheng stating that “[t]he Secretary

                    of the Municipal Communist Party Committee is visiting this

                    afternoon”). In one message dated January 22, 2017, Zheng sent

                    Zhang an apparent draft status report on LTAT addressed to multiple

                    local government leaders. In it, Zheng thanked the leaders for their

                    “consideration and support” and updated the officials on LTAT’s

                    progress. Id. at 97. He reiterated that “[t]he 13th Five-Year Plan places

                    aerospace development as a priority among its strategic key

                    technology projects” and that he was “[t]herefore . . . [t]here to ask the

                    leadership to give the development of this national key technology

                    project the special attention it deserves.” Id.

                                     iv.   LTAT’s and NTAT’s Partnerships with
                                           Chinese Universities

                            The government also introduced evidence that Zheng, through

                    LTAT and NTAT, sought to partner and collaborate with Chinese

                    universities on various research projects. First, in June 2018, NTAT




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                    executed a “Technical Services Contract” with the Beijing University

                    of Aeronautics and Astronautics (“BUAA”). Gov’t App’x at 164. The

                    contract was for a project titled “Research and Development of High

                    Speed Pneumatic Bearing and Sealing Technology.” Id. Under the

                    agreement, BUAA would pay NTAT one million yuan to provide

                    BUAA with technical services relating to the development of turbine

                    bearing and sealing technology. Zheng signed the contract as NTAT’s

                    legal representative (although BUAA’s signature line is blank). Chen

                    testified that BUAA is a “major” university that “specializes [i]n

                    aeronautics” and “astronautics.”        App’x at 1213.        BUAA is

                    “administered by the [PRC’s] ministry of industry and information

                    technology.” Id. As with other public universities in China, “the

                    direction of [BUAA’s] research [is] guided by policies like the 13th

                    five-year plan.” Id. at 1214.

                            Second, in July 2018, it appears that LTAT considered entering

                    into a “Strategic Cooperation Agreement” with Shenyang Aerospace




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                    University (“SAU”) for a project titled “Development of Brush Seal

                    Technology for Aircraft Engines.” Gov’t App’x at 98. According to

                    what appears to be a draft of that agreement, LTAT agreed to, among

                    other things, provide “brush seal test samples” to SAU. Id. Chen

                    explained that SAU “is a large public university” that “mostly trains

                    engineers for China’s . . . civilian and military education industries.”

                    App’x at 1210. SAU’s “research would be in line with the 13th five-

                    year plan,” and it “ultimately report[s] back” to the CCP. Id. at 1210–

                    11.

                            Lastly, in July 2018, Zheng emailed Zhang a draft “Strategic

                    Cooperation Agreement For the Establishment of a Joint Research and

                    Development Test Center of Sealing Components for Aero Engines

                    and Gas Turbines” between LTAT and the AECC Shenyang Engine

                    Research Institute (“AECC”).        Gov’t App’x at 173. Under the

                    agreement, the parties would “[c]o-design, trial produce, test[,] and

                    verify aero engine and gas turbine sealing products.” Id. at 175. Chen




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                    testified that AECC is “one of the leading research institute[s] in

                    China that specializes in R&D of large and medium turbo jet engines

                    as well as natural gas turbines,” and that “it belongs to Aero Engine

                    Operations of China, which is a[] large[] state-owned enterprise.”

                    App’x at 1211.

                                 3. Zheng’s Emails to Himself and Zhang

                            During the time that Zheng was trying to grow LTAT and

                    NTAT by partnering with Chinese local governments and

                    universities, he was also misappropriating GE trade secrets that

                    related to LTAT’s and NTAT’s areas of focus. On June 6, 2017, Zheng

                    sent an email from his GE email address to his personal email address

                    with an image of bamboo shoots attached. The image was titled

                    “newyear.jpg.” App’x at 643. Through steganography, Zheng had

                    embedded in the image three GE files, which had been encrypted

                    using AxCrypt, containing manufacturing drawings for turbine

                    blades used in GE’s gas turbines.




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                            Then, on August 22, 2017, Zheng sent an email with an

                    attachment from his personal email address to Zhang, who was

                    located in China.      Within the attachment were three GE files,

                    including a manufacturing drawing for a brush seal used in various

                    GE steam turbines. Zheng again emailed Zhang on September 1,

                    2017, this time with an attachment containing seven GE files relating

                    to seal testing rigs that GE engineers used to test turbine seals or to

                    aspirating face seals. The information in the files had applications for

                    aviation turbines and engines. That same day, Zheng sent a message

                    to Zhang on WeChat: “After you finish downloading, don’t forget to

                    delete everything. Don’t leave it in the mailbox.” Id. at 1345.

                            On October 23, 2017, Zheng again sent an email from his GE

                    email address to his personal email address with two images of

                    “something mechanical” attached. Id. at 676–77. Embedded in those

                    images through steganography were encrypted GE files containing

                    designs for various gas turbine combustion chamber parts. Multiple




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                    GE employees testified that the GE files that Zheng sent to himself

                    and Zhang contained valuable information that GE took measures to

                    protect, that the information contained in the files would have been

                    valuable to GE’s competitors, and that the files contained proprietary

                    information and constituted GE’s trade secrets.

                            E. The Jury Instructions

                            After the close of evidence, the district court instructed the jury

                    on the elements of each charged offense. For substantive economic

                    espionage, in violation of 18 U.S.C. § 1831(a), the district court

                    instructed the jury that the government must prove the following

                    elements beyond a reasonable doubt:

                            [F]irst, that defendant knowingly stole or without
                            authorization appropriated, took, carried away, or
                            concealed or by fraud, artifice, or deception obtained
                            information from General Electric Power . . . or
                            knowingly received, bought, or possessed such
                            information, knowing it to have been stolen,
                            appropriated, obtained, or converted without
                            authorization as alleged in the superseding indictment;
                            second, that the stolen information was a trade
                            secret . . . ; third, that the defendant knew the




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                            information was proprietary; [and] fourth, that the
                            defendant acted with the intent to benefit a foreign
                            government or a foreign instrumentality or a foreign
                            agent or knew that it would benefit a foreign government
                            or instrumentality or agent.

                    App’x at 1627–28. Regarding the fourth element, the district court

                    explained that “[t]he benefit to the foreign government or

                    instrumentality need not be economic in nature” and that “[o]ther

                    benefits would also satisfy this element[,] such as furthering the

                    national security interests of a foreign government.” Id. at 1630. At

                    the charge conference, defense counsel requested that the district

                    court instruct the jury that to find Zheng guilty of economic

                    espionage, they must find “some evidence of foreign government

                    involvement, such as foreign government sponsored or coordinated

                    intelligence activity.” Id. at 79. The district court rejected that request

                    and instructed the jury as described above.

                            For conspiracy to commit economic espionage, in violation of

                    18 U.S.C. § 1831(a)(5), the district court instructed the jury that the




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                    government must prove the following elements beyond a reasonable

                    doubt: “[F]irst, that such a conspiracy existed; second, that at some

                    point, the defendant knowingly and willfully joined and participated

                    in the conspiracy; and third, at least one overt act in furtherance of the

                    conspiracy was knowingly and willfully committed by at least one

                    member of the conspiracy.” Id. at 1635–36. The district court advised

                    the jury that the conspiracy charge and the substantive charge

                    differed in one material respect:

                            It is important to note that unlike the substantive charge
                            of economic espionage, to establish conspiracy to commit
                            economic espionage, the government is not required to
                            prove that the information the alleged conspirators
                            intended to misappropriate was in fact a trade secret.
                            What is required is proof beyond a reasonable doubt that
                            the defendant and at least one other member of the
                            conspiracy knowingly agreed to misappropriate
                            information that they reasonably believed was a trade
                            secret and did so for the benefit of a foreign government
                            or foreign instrumentality. This is because defendant’s
                            guilt or innocence on this charge depends on what he
                            believed the circumstances to be, not what they actually
                            were.




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                    Id. at 1648 (emphasis added). At the charge conference, defense

                    counsel requested an instruction that the jury must find beyond a

                    reasonable doubt that Zheng “firmly believed,” rather than

                    “reasonably believed,” that what he was misappropriating were, in

                    fact, GE trade secrets. Id. at 1591. The district court rejected this

                    request and instructed the jury as described above.

                            F. Jury Verdict

                            The jury began deliberating on March 22, 2022, and returned a

                    verdict on March 31. It found Zheng guilty of Count 1, conspiracy to

                    commit economic espionage, and not guilty of two of the substantive

                    economic espionage counts and two of the substantive theft of trade

                    secrets counts (Counts 7–10). The jury hung as to the remaining seven

                    counts (Counts 2–6 and 13–14).

                            G. Zheng’s Motions for a Judgment of Acquittal

                            At the close of the government’s evidence, Zheng moved for a

                    judgment of acquittal pursuant to Federal Rule of Criminal Procedure




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                    29(a).    The district court denied the motion, reasoning “that a

                    reasonable jury might fairly conclude beyond a reasonable doubt that

                    the defendant is guilty of the crimes charged” because the evidence

                    that the government had presented, “including the testimony of

                    agents involved in the investigation, expert witnesses, employees of

                    GE, the recordings to the defendant’s interview, and the physical

                    evidence recovered during the investigation,” “would permit a

                    reasonable jury to conclude that the defendant stole trade secrets from

                    GE and that this was done for the benefit of a foreign government or

                    instrumentality.” App’x at 1531. At the close of evidence, Zheng

                    renewed his motion for a judgment of acquittal, which the district

                    court denied for the same reasons.

                             Following the jury’s verdict, on June 29, 2022, Zheng moved for

                    a judgment of acquittal pursuant to Federal Rule of Criminal

                    Procedure 29(c) or, alternatively, for a new trial pursuant to Federal

                    Rule of Criminal Procedure 33.           Zheng argued that there was




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                    insufficient evidence to convict him of conspiracy to commit

                    economic espionage because the government had not presented

                    evidence that he intended to benefit the Chinese government. Rather,

                    Zheng argued, the evidence showed that he intended, at most, to

                    benefit himself as a private citizen by pursuing business interests in

                    the PRC that aligned with the PRC’s stated economic policies during

                    that time. The government opposed Zheng’s motion.

                            On December 28, 2022, the district court denied Zheng’s

                    motion. The district court reasoned that Zheng’s interpretation of

                    “benefit” in 18 U.S.C. § 1831(a)(5) was too “narrow.” Gov’t App’x at

                    255. According to the district court, “[t]he language of Section 1831

                    does not preclude a conviction where the defendant derives some

                    benefit from his conduct; rather, all that is required is for the

                    defendant to engage in the conduct knowing or intending his conduct

                    to also benefit a foreign government, instrumentality, or agent.” Id.

                    at 256. And here, “[t]he evidence admitted at trial was unambiguous




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                    in establishing that [Zheng] knew, and intended, that the turbine

                    technology trade secrets taken from GE would benefit himself

                    personally, as well as the Chinese government and various foreign

                    instrumentalities by advancing their ability to research, develop,

                    design, test, manufacture, and service turbines and turbine

                    technologies.” Id. at 259.

                             H. Sentencing

                             In its Pre-Sentence Investigation Report (“PSR”), the U.S.

                    Probation     Office   (“Probation”)       calculated    Zheng’s      advisory

                    imprisonment range under the Sentencing Guidelines as follows.

                    Pursuant to U.S.S.G. § 2B1.1(a)(2), Zheng’s base offense level was 6.

                    Probation then determined that several specific offense characteristics

                    applied. First, it determined that the “loss” resulting from Zheng’s

                    offense “exceeded $1,500,000, but was less than $3,500,000” because

                    “[t]he     combined      value   of   [the]    [t]rade    [s]ecrets    [Zheng

                    misappropriated] was millions of dollars, including expenses for




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                    research and design and other costs of reproducing the trade secrets

                    that Zheng and Zhang avoided.” PSR ¶ 12. This loss amount resulted

                    in a 16-level enhancement pursuant to § 2B1.1(b)(1)(I).        Second,

                    Probation   applied    a   two-level    enhancement      pursuant   to

                    § 2B1.1(b)(10)(B) and (C) because “a substantial part of [the]

                    fraudulent scheme was committed from outside the United States,

                    and [defendants used] sophisticated means.” Id. ¶ 13. “Specifically,

                    a substantial part of the scheme was committed from the People’s

                    Republic of China and the offense involved encryption and

                    decryption of trade secrets, steganography, sending trade secrets to

                    China, and coconspirators using encrypted text messages and audio

                    files to communicate.” Id. Third, Probation applied a four-level

                    enhancement pursuant to § 2B1.1(b)(14)(B) because “[t]he offense

                    involved misappropriation of a trade secret and the defendant knew

                    or intended that the offense would benefit a foreign government,

                    foreign instrumentality, or foreign agent.” Id. ¶ 14. Thus, Probation




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                    calculated Zheng’s total adjusted offense level as 28. Combined with

                    a criminal history category of I, the Guidelines yielded an advisory

                    imprisonment range of 78 to 97 months.

                            As relevant here, Zheng objected to Probation’s use of

                    “intended loss” in calculating the loss amount. Gov’t App’x at 232.

                    The commentary to § 2B1.1 provides that “loss is the greater of actual

                    loss or intended loss.” U.S.S.G. § 2B1.1 cmt. n.3(A). Zheng argued,

                    however, that the Guidelines commentary is no longer entitled to

                    judicial deference after Kisor v. Wilkie, 588 U.S. 558 (2019), and that

                    “loss” in § 2B1.1 unambiguously refers to “actual loss,” which Zheng

                    argued was zero dollars in his case.        The district court rejected

                    Zheng’s objection, explaining that under Stinson v. United States,

                    508 U.S. 36 (1993), courts are required “to follow [Guidelines]

                    commentary that interprets or explains a [G]uideline unless it violates

                    the Constitution or a federal statute or is inconsistent with or a plainly

                    erroneous reading of that [G]uideline,” App’x at 1871, and that




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                    “Stinson continues to be the law in this Circuit,” id. at 1874. The

                    district court accordingly concluded that, based on the Guidelines

                    commentary, it should use intended loss when calculating Zheng’s

                    Guidelines imprisonment range.

                            However, in contrast to Probation, the district court

                    determined that the intended loss amount should be based on GE’s

                    “potentially lost profits” had Zheng’s conspiracy succeeded, which

                    the district court determined to be $1,058,800. Id. at 1881. This loss

                    amount resulted in a 14-level enhancement, rather than the 16-level

                    enhancement recommended by Probation, pursuant to § 2B1.1(b)(1).

                    The district court otherwise adopted the PSR’s factual findings and

                    Guidelines calculations. Accordingly, a total offense level of 26 and a

                    criminal history category of I yielded an advisory Guidelines

                    imprisonment range of 63 to 78 months. After considering the factors

                    set forth in 18 U.S.C. § 3553(a), the district court departed downward




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                    from the advisory range, sentencing Zheng to 24 months of

                    imprisonment, to be followed by one year of supervised release.

                            The district court sua sponte granted Zheng bail pending the

                    disposition of any appeal. Zheng timely appealed.

                    II.     Discussion

                            On appeal, Zheng argues (1) that there was insufficient

                    evidence to convict him of conspiracy to commit economic espionage,

                    in violation of 18 U.S.C. § 1831(a)(5), because the government did not

                    prove that Zheng’s conduct resulted from “foreign government

                    sponsored or coordinated intelligence activity”; (2) that the district

                    court improperly instructed the jury regarding the elements of

                    § 1831(a)(5), specifically that the district court should have instructed

                    the jury that the government must prove that (a) Zheng’s economic

                    espionage resulted from “foreign government sponsored or

                    coordinated intelligence activity,” and (b) Zheng “firmly believed”

                    that what he had misappropriated from GE were, in fact, trade




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                    secrets; and (3) that the district court erred by imposing a 14-level

                    enhancement under U.S.S.G. § 2B1.1 based on “intended loss.”

                            Because Zheng preserved his arguments regarding the

                    sufficiency of the evidence and the jury instructions, we review those

                    issues de novo. United States v. Jimenez, 96 F.4th 317, 322, 324 (2d Cir.

                    2024). Zheng also preserved his argument about “intended loss,” and

                    we therefore review the district court’s interpretation of the

                    Guidelines de novo, “just as we would review the interpretation of any

                    law.” United States v. Hasan, 586 F.3d 161, 168 (2d Cir. 2009). For the

                    reasons explained below, we are unpersuaded by all of Zheng’s

                    arguments and accordingly affirm the judgment of the district court.

                            A. Sufficiency of the Evidence

                            Zheng argues that there was insufficient evidence to convict

                    him of conspiracy to commit economic espionage “because the

                    government did not prove beyond a reasonable doubt that Zheng’s

                    conduct resulted from a government sponsored or coordinated




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                    intelligence activity.” Appellant’s Br. at 11. “Because of the strong

                    deference to which jury verdicts are entitled in our justice system, we

                    must ‘draw all permissible inferences in favor of the government and

                    resolve all issues of credibility in favor of the jury’s verdict.’” United

                    States v. Osuba, 67 F.4th 56, 61 (2d Cir. 2023) (quoting United States v.

                    Willis, 14 F.4th 170, 181 (2d Cir. 2021)). “[T]he relevant question is

                    whether, after viewing the evidence in the light most favorable to the

                    prosecution, any rational trier of fact could have found the essential

                    elements of the crime beyond a reasonable doubt.” Jackson v. Virginia,

                    443 U.S. 307, 319 (1979). If the answer is yes, the conviction must be

                    upheld. See id. Thus, “[a] defendant bears a heavy burden in seeking

                    to overturn a conviction on grounds that the evidence was

                    insufficient.” United States v. Rosemond, 841 F.3d 95, 113 (2d Cir. 2016)

                    (citation and quotation marks omitted).




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                                  1. Whether Section 1831 Requires Proof of Foreign
                                     Government Sponsored or Coordinated
                                     Intelligence Activity

                            Zheng argues that 18 U.S.C. § 1831(a) requires proof of foreign

                    government sponsored or coordinated intelligence activity, and that

                    the government’s evidence failed to prove such activity. As “[w]hen

                    answering [any] question[] of statutory interpretation, we begin with

                    the language of the statute.” United States ex rel. Wood v. Allergan, Inc.,

                    899 F.3d 163, 171 (2d Cir. 2018).

                            Section 1831 was codified as part of the Economic Espionage

                    Act of 1996 (“EEA”), Pub. L. No. 104–294, 110 Stat. 3488, and provides:

                    “Whoever, intending or knowing that the offense will benefit any

                    foreign government, foreign instrumentality, or foreign agent,

                    knowingly” misappropriates a trade secret in one of the ways set forth

                    in the statute, attempts to do so, or conspires to do so, is guilty of a

                    federal offense, and may be imprisoned for up to 15 years. 18 U.S.C.

                    § 1831(a). A “foreign instrumentality” is defined as “any agency,

                    bureau, ministry, component, institution, association, or any legal,



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                    commercial, or business organization, corporation, firm, or entity that

                    is   substantially   owned,    controlled,   sponsored,   commanded,

                    managed, or dominated by a foreign government.” Id. § 1839(1).

                            Contrary to Zheng’s claim, there is nothing in § 1831(a) that

                    requires proof of a foreign government’s involvement in the

                    defendant’s conduct. To the extent the statute makes any mention of

                    foreign governments, it does so only in terms of the defendant’s

                    mental state: the defendant must intend or know that his

                    misappropriation of a trade secret will benefit a foreign government

                    or instrumentality. Far from requiring any action or involvement by

                    another sovereign, under § 1831(a), “criminal liability . . . may be

                    established on the basis of [the] [d]efendant’s intent alone.” United

                    States v. Chung, 659 F.3d 815, 828 (9th Cir. 2011).

                            Zheng argues that a foreign government’s involvement is at

                    least arguably implicit in the term “benefit,” and that ambiguity about

                    that term is resolved in favor of his reading by looking at two aspects




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                    of the statute—its title and its legislative history. But there is no such

                    ambiguity.    Here, the only actor specified in the statute is the

                    defendant—that is, “[w]hoever” takes any of the actions enumerated

                    in subsections (1)–(5) of § 1831(a) with the requisite mental state. That

                    mens rea involves “intending or knowing that the offense will benefit

                    any foreign government, foreign instrumentality, or foreign agent.”

                    18 U.S.C. § 1831(a).    In the latter phrase, “will benefit a foreign

                    government,” the foreign government is described only as the

                    object—that is, the recipient—of the intended benefit. See Benefit,

                    Merriam-Webster.com,                             https://www.merriam-

                    webster.com/dictionary/benefit           [https://perma.cc/RC4B-5GFJ].

                    (defining the verb “benefit” as “to be useful or profitable to”). In

                    short, there is nothing in § 1831(a) that requires the intended

                    beneficiary to take some action to bring about the crime.

                            Because we disagree with Zheng’s argument that § 1831(a) is

                    ambiguous with respect to foreign government involvement, we need




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                    not consider his arguments that go beyond the statutory text. See, e.g.,

                    Nat’l Ass’n of Mfrs. v. Dep’t of Def., 583 U.S. 109, 127 (2018) (“Because

                    the plain language of [the statute] is unambiguous, our inquiry begins

                    with the statutory text, and ends there as well.” (citation and

                    quotation marks omitted)); Wood, 899 F.3d at 171 (“Only when the

                    terms are ambiguous or unclear do we consider legislative history

                    and other tools of statutory interpretation.”); Bhd. of R.R. Trainmen v.

                    Baltimore & O. R. Co., 331 U.S. 519, 528–29 (1947) (“[T]he title of a

                    statute and the heading of a section cannot limit the plain meaning of

                    the text. For interpretative purposes, they are of use only when they

                    shed light on some ambiguous word or phrase.” (citations omitted)).

                    However, even assuming that § 1831(a) is ambiguous (which it is not),

                    the title and legislative history do not support Zheng’s argument.

                            Section 1831 is titled “Economic espionage,” 18 U.S.C. § 1831,

                    and Zheng argues that “espionage” typically connotes government-

                    sponsored spying activity. However, the structure and legislative




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                    history of the EEA make clear that “espionage” is used broadly here,

                    and should not be understood in the limited sense that Zheng

                    proposes.

                            Beginning with the EEA’s structure, in addition to § 1831, the

                    EEA codified § 1832, “Theft of trade secrets.”        18 U.S.C. § 1832.

                    Section 1832(a) provides that “[w]hoever, with intent to convert a

                    trade secret, that is related to a product or service used in or intended

                    for use in interstate or foreign commerce, to the economic benefit of

                    anyone other than the owner thereof, and intending or knowing that

                    the offense will, injure any owner of that trade secret, knowingly”

                    misappropriates a trade secret in one of the ways set forth in the

                    statute, attempts to do so, or conspires to do so, is guilty of a federal

                    offense, and may be imprisoned for up to 10 years. Id. § 1832(a).

                    Thus, in contrast to § 1831(a), § 1832(a) does not even mention foreign

                    governments, instrumentalities, or agents, but it was still codified as

                    part of the Economic Espionage Act of 1996. It is therefore clear that




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                    the EEA proscribes more than classic spy craft involving foreign

                    government interference.

                            Contemporary references to “espionage” in the legislative

                    history are consistent with this broader understanding of the term.

                    The House of Representatives explained that the EEA was needed

                    because of the growing threat of “economic or industrial espionage.”

                    H.R. Rep. No. 104-788, at 5 (1996). Although “[e]spionage is typically

                    an organized effort by one country’s government to obtain the vital

                    national security secrets of another country,” they explained, “as the

                    cold war has drawn to a close, this classic form of espionage has

                    evolved.” Id. From the traditional style of espionage, which was

                    “[t]ypically . . . focused on military secrets,” had evolved “industrial

                    espionage,” which

                            includes a variety of behavior—from the foreign
                            government that uses its classic espionage apparatus to
                            spy on a company, to the two American companies that
                            are attempting to uncover each other’s bid proposals, or
                            to the disgruntled former employee who walks out of his




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                            former company with a computer diskette full of
                            engineering schematics.

                    Id. The legislators recognized that “[a]ll of these forms of industrial

                    espionage are problems” and that “[e]ach will be punished under [the

                    EEA].” Id. Accordingly, the title of § 1831 does not support Zheng’s

                    assertion that there must be proof of government sponsored or

                    coordinated intelligence activity, because Congress understood

                    “economic espionage” to encompass much more conduct than

                    Zheng’s limited—and outdated—conception of “espionage” that only

                    involves foreign government or coordinated intelligence activity.

                            Zheng notes certain instances in the EEA’s legislative history

                    where legislators referred to § 1831 as applying to defendants acting

                    on behalf of foreign governments. He points to the Senate Managers’

                    Statement, which explained “the difference between Sections 1831

                    and 1832”:

                            This legislation includes a provision penalizing the theft
                            [of] trade secrets (Sec. 1832) and a second provision
                            penalizing that theft when it is done to benefit a foreign
                            government, instrumentality, or agent (Sec. 1831). The



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                            principle [sic] purpose of this second (foreign
                            government) provision is not to punish conventional
                            commercial theft and misappropriation of trade secrets
                            (which is covered by the first provision). Thus, to make
                            out an offense under the economic espionage section, the
                            prosecution must show in each instance that the
                            perpetrator intended to or knew that his or her actions
                            would aid a foreign government, instrumentality, or
                            agent. Enforcement agencies should administer this section
                            with its principle [sic] purpose in mind and therefore should
                            not apply section 1831 to foreign corporations when there is no
                            evidence of foreign government sponsored or coordinated
                            intelligence activity.

                    142 Cong. Rec. S12212 (daily ed. Oct. 2, 1996) (emphasis added).

                    According to Zheng, this last quoted sentence establishes that § 1831

                    may be applied only when there is “evidence of foreign government

                    sponsored or coordinated intelligence activity.” Appellant’s Br. at 11

                    (citation omitted).

                            Zheng’s argument fails for two reasons. First, the context of the

                    Managers’ Statement clarifies that legislators were concerned about

                    § 1831 being enforced against someone who misappropriates a trade

                    secret intending to benefit a foreign corporation that has no nexus to




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                    a foreign government, that is, a foreign corporation that is not a

                    foreign instrumentality. Indeed, the very next paragraph explains

                    that the legislators’ “particular concern” was addressed through “the

                    definition of ‘foreign instrumentality[,]’ which indicates that a foreign

                    organization must be ‘substantially owned, controlled, sponsored,

                    commanded, managed, or dominated by a foreign government or

                    subdivision thereof.’” Id. In other words, the Managers’ Statement’s

                    reference to “foreign government sponsored or coordinated

                    intelligence activity” was an explanation of the limit to which § 1831

                    may be utilized when a defendant intended to benefit “foreign

                    corporations,” that is, only when the foreign corporation is

                    considered a foreign instrumentality, as defined in § 1839(1). If the

                    foreign corporation does not have the requisite level of connection

                    with the foreign government to make it a foreign instrumentality,

                    then the Managers’ Statement expressed the view that § 1832, not

                    § 1831, is the appropriate vehicle to prosecute someone who




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                    misappropriates a trade secret with the intent to benefit that foreign

                    corporation.

                            Second, even assuming that the “princip[al] purpose” of § 1831

                    is to prosecute economic espionage done on behalf of a foreign

                    government, that does not mean it is the only circumstance in which

                    § 1831 may be utilized. 142 Cong. Rec. S12212. The legislative history

                    to which Zheng draws our attention does no more than exhort

                    “[e]nforcement agencies [to] administer” § 1831 with that purpose in

                    mind—in other words, the statement is nothing more than a

                    suggestion regarding the proper exercise of prosecutorial discretion,

                    and should not be read as purporting to delineate the scope of the

                    statute. Id. Perhaps prosecutors will prioritize the use of § 1831 for

                    cases that involve foreign government spying. Or perhaps they will

                    place greater importance on different factors, depending on the

                    circumstances.      But such questions about the allocation of

                    prosecutorial resources are reserved for the executive branch, not for




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                    the judiciary. All that matters for purposes of this appeal is that an

                    individual may intend to benefit a foreign government by

                    misappropriating trade secrets without the foreign government

                    directing or coordinating his activity. Under § 1831, a volunteer spy

                    is just as guilty as one recruited and handled by a foreign government.

                                 2. Whether There was Sufficient Evidence That
                                    Zheng Intended To Benefit a Foreign Government
                                    or Instrumentality

                            Having concluded that § 1831(a) does not require proof of

                    foreign government activity, we next determine whether there was

                    sufficient evidence for a rational jury to find Zheng guilty of

                    conspiring to misappropriate GE’s trade secrets intending or

                    knowing that the offense would benefit a foreign government or

                    foreign instrumentality. There was.

                            We begin by noting that § 1831(a) is “expressed broadly.”

                    United States v. Aleynikov, 676 F.3d 71, 79 (2d Cir. 2012); see also H.R.

                    Rep. No. 104-788, at 11 (explaining that “‘benefit’ is intended to be

                    interpreted broadly”).      Accordingly, the “benefit” that Zheng



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                    intended to confer on the foreign government or instrumentality need

                    not have been an economic benefit; a strategic, tactical, or reputational

                    benefit would also suffice. See, e.g., H.R. Rep. No. 104-788, at 11.

                    Based on the evidence presented at trial, a rational jury could

                    conclude that Zheng conspired to misappropriate GE’s trade secrets

                    intending or knowing that such misappropriation would benefit

                    either (1) a foreign government, or (2) a foreign instrumentality.

                            First, there was sufficient evidence for a rational jury to

                    conclude that Zheng conspired to misappropriate GE’s trade secrets

                    with the intent to benefit the PRC.        The government presented

                    evidence that from 2016 to 2018, the PRC sought to improve its

                    competitive    stature   within   high-tech   manufacturing      sectors,

                    including its ability to domestically manufacture “aero engines and

                    industrial gas turbines.” App’x at 1193. In service of this goal, the

                    PRC published and promoted the 13th Five-Year Plan and the Made

                    in China 2025 policy, which local governments helped to execute by




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                    offering subsidies and other incentives to companies developing

                    products within the PRC’s fields of interest.

                            Against this backdrop, beginning around 2016, Zheng helped

                    launch two businesses in the PRC, LTAT and NTAT, to develop and

                    manufacture seals for aero and ground-based turbines. Zheng sought

                    funding from Chinese local governments for these ventures and kept

                    local government officials apprised of the companies’ work. LTAT’s

                    and NTAT’s own publications explained how their objectives aligned

                    with the PRC’s national economic policies regarding improved

                    domestic turbine manufacturing.         Further, Zheng’s writings, as

                    evidenced by his draft status report to local government leaders from

                    January 2017 and his draft speech to government and university

                    officials from July 2018, reiterated his desire to help the PRC meet its

                    economic goals.

                            In short, Zheng launched businesses in the PRC to develop and

                    manufacture technology—seals—that were critical to producing the




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                    turbines that the PRC wanted to manufacture domestically, and with

                    the express objective of helping the PRC do so. Further, the trade

                    secrets that Zheng misappropriated from GE all related to turbine

                    designs, including the specific types of turbine seals that Zheng’s

                    companies wanted to develop. Zheng misappropriated these trade

                    secrets using surreptitious means and twice sent the trade secrets

                    directly to Zhang in China. The jury therefore could have found that

                    Zheng misappropriated GE’s trade secrets for the purpose of allowing

                    his Chinese companies to achieve their objectives, and consequently,

                    those of the PRC. And the jury could therefore have found that Zheng

                    acted with the intent to confer a benefit on the PRC—whether

                    economic, strategic, tactical, or reputational—or at least with the

                    knowledge that such a benefit would be conferred on the PRC if his

                    conspiracy succeeded. 5



                            5In arguing that there was insufficient evidence of foreign government
                    involvement, Zheng argues in passing that there was also no proof that he
                    “willfully engaged in criminal conduct” because the government failed to prove




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                    that he acted “with knowledge that his conduct was unlawful.” Appellant’s Br. at
                    20. The district court instructed the jury that to find Zheng guilty of conspiracy to
                    commit economic espionage, the jury must find, among other things, that Zheng
                    “knowingly and willfully joined and participated in the conspiracy” and that “at
                    least one overt act in furtherance of the conspiracy was knowingly and willfully
                    committed by at least one member of the conspiracy.” App’x at 1635–36.
                    Although the district court did not expressly define “willfully,” we have generally
                    defined the term to mean what Zheng says it means. See, e.g., United States v.
                    Kukushkin, 61 F.4th 327, 332 (2d Cir. 2023) (“[I]n order to establish a willful
                    violation of a statute, the Government must prove that the defendant acted with
                    knowledge that his conduct was unlawful.” (quoting Bryan v. United States,
                    524 U.S. 184, 191–92 (1998))). It appears that the district court relied on Modern
                    Federal Jury Instructions for its instruction, which matches that source nearly
                    verbatim. See Leonard B. Sand et al., 1 Modern Federal Jury Instructions: Criminal,
                    Instruction 19-3S (2024). That model instruction appears to concern conspiracy
                    charges where the substantive offense specifically includes a willfulness
                    requirement; § 1831(a) does not include a willfulness requirement, however, and
                    there is no indication that Congress intended that all conspiracy offenses include
                    a willfulness requirement even if the substantive offense does not. Nevertheless,
                    Zheng did not ask the district court to further define “willfully,” nor does the
                    government challenge the district court’s instruction. Accordingly, we need not
                    decide whether the instruction as given properly included a willfulness
                    requirement, and we simply assume for purposes of this appeal that the jury had
                    to find that Zheng knew that the conspiracy’s objective was unlawful.

                            Even indulging this assumption, Zheng’s claim fails. There was abundant
                    evidence that Zheng was conscious that he was engaged in wrongdoing. Most
                    obviously, the evidence showed that Zheng went to considerable lengths to hide
                    his misappropriation of GE’s trade secrets, including by using encryption and
                    steganography when sending the trade secrets outside the GE system, instructing
                    Zhang to delete some of the files that Zheng sent him, and communicating with
                    Zhang through encrypted messages. A jury may infer a defendant’s knowledge
                    that conduct is wrongful from his efforts to conceal his conduct. See, e.g., United
                    States v. Hassan, 578 F.3d 108, 126 (2d Cir. 2008) (explaining that evidence of
                    importation methods that “included efforts to conceal the nature of [the]
                    packages” helped demonstrate that the defendant knew that what he was




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                            Second,     there      were      several     Chinese       government

                    “instrumentalities” that the jury could have found that Zheng

                    intended to benefit. Bear in mind that § 1839(1) defines a “foreign

                    instrumentality” to include “any . . . institution . . . or business

                    organization . . . or entity that is substantially owned, controlled,

                    sponsored, commanded, managed, or dominated by a foreign

                    government.”       18 U.S.C. § 1839(1).        Here, the jury could have

                    reasonably found that LTAT and NTAT themselves were foreign

                    instrumentalities. Zheng sought government funding to start LTAT,

                    and local government officials were involved in LTAT’s formation

                    and kept apprised of its status. Both LTAT’s and NTAT’s business

                    objectives were tied to national economic policy. And both were

                    operating in the PRC, where, as Chen testified, the distinction

                    between private and public entities is “very blurred,” such that the

                    PRC would want to “pay very close attention . . . and . . .try to



                    importing contained a controlled substance and therefore that he knowingly
                    participated in the conspiracy to import and distribute the controlled substance).




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                    monitor” “relatively large enterprise[s], especially in the area of

                    science and technology.” App’x at 1242. The jury therefore could

                    reasonably have determined that the government “sponsored” both

                    companies as contemplated under 18 U.S.C. § 1839(1), and that Zheng

                    misappropriated trade secrets to benefit them. Accord United States v.

                    You, 74 F.4th 378, 396 (6th Cir. 2023) (holding that defendant’s “joint

                    venture” with a Chinese chemical company was a “foreign

                    instrumentality” as defined in § 1839(1)).

                            Zheng’s companies also entered into, or at least contemplated,

                    agreements with BUAA, SAU, and AECC. BUAA and SAU are public

                    universities,   which    in   the   PRC   are,   according   to     Chen,

                    “basically . . . owned by the Chinese government” and expected to

                    “toe the party line,” App’x at 1201, and AECC belongs to a state-run

                    enterprise. The jury therefore could reasonably have found that these

                    entities were “foreign instrumentalities” as defined by § 1839(1).

                    Further, there was evidence that Zheng’s companies agreed to




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                    provide BUAA and SAU technical specifications for turbine seals and

                    turbine seal samples, respectively. Similarly, in its draft agreement

                    with AECC, LTAT and AECC would work together to develop “aero

                    engine and gas turbine sealing products.” Gov’t App’x at 175. These

                    agreements all depended on Zheng’s companies having technical

                    expertise of turbine seals, and the trade secrets that Zheng

                    misappropriated from GE related to the design of such seals.

                            Accordingly, there were multiple avenues for the jury to find

                    that Zheng acted with the intent to confer a benefit on a foreign

                    instrumentality.    And contrary to Zheng’s argument, it is of no

                    moment that throughout all of the conduct described above, Zheng

                    might have also been attempting to benefit himself financially. Intent

                    to benefit oneself is not mutually exclusive of intent to benefit

                    another.




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                            B. Jury Instructions

                            Zheng next argues that the district court erred by failing to

                    instruct the jury that in order to be found guilty of conspiracy to

                    commit economic espionage, in violation of § 1831(a)(5), the

                    government must prove that (1) a foreign government sponsored or

                    coordinated the intelligence activity, and (2) Zheng “firmly

                    believed”—rather than “reasonably believed”—that what he was

                    misappropriating from GE were, in fact, trade secrets.          “A jury

                    instruction is erroneous if it misleads the jury as to the correct legal

                    standard or does not adequately inform the jury on the law. The

                    defendant bears the burden of showing that his requested instruction

                    accurately represented the law in every respect and that, viewing as

                    a whole the charge actually given, he was prejudiced.” Jimenez,

                    96 F.4th at 322 (cleaned up).

                            Zheng’s first argument need not detain us long, because as

                    explained above, see supra Section II.A.1, § 1831(a) does not require




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                    proof of foreign government sponsored or coordinated intelligence

                    activity. Accordingly, the district court did not err by failing to

                    instruct the jury that such proof was required.

                            The district court also did not err by failing to instruct the jury

                    that they must find that Zheng “firmly believed” that the material he

                    misappropriated constituted GE trade secrets. To begin with, the

                    government was not required to prove, for purposes of the conspiracy

                    count, that the stolen materials were actually trade secrets. It is well

                    established that factual impossibility is not a defense to inchoate

                    crimes, such as conspiracy to commit an offense. See, e.g., United States

                    v. Williams, 553 U.S. 285, 300 (2008); United States v. Hassan, 578 F.3d

                    108,123 (2d Cir. 2008). That is because conspiracy law targets the mere

                    agreement to commit a crime; in this way, it differs from the

                    substantive crime that is the object of the conspiracy. Accordingly, in

                    the conspiracy context, a defendant’s guilt depends on the facts as he

                    believed them to be. See, e.g., United States v. Wen Chyu Liu, 716 F.3d




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                    159, 170 (5th Cir. 2013) (“[T]he relevant inquiry in a conspiracy

                    case . . . is whether the defendant entered into an agreement to steal,

                    copy, or receive information that he believed to be a trade secret.”).

                            Zheng suggests that the jury had to find not just that he

                    believed that he was misappropriating GE trade secrets, but that he

                    “firmly believed” as much, relying on United States v. Nosal, 844 F.3d

                    1024 (9th Cir. 2016).   In Nosal, a § 1832 case, the Ninth Circuit found

                    no error in jury instructions where the district court advised the jury

                    that for the conspiracy charge, “the government must prove that

                    Defendant firmly believed that certain information constituted trade

                    secrets.” Id. at 1044 (internal quotation marks omitted). But on

                    appeal, the defendant had argued only that the “firmly believed”

                    standard constituted a constructive amendment of the indictment,

                    “because the indictment allege[d] theft of actual trade secrets while

                    the jury instruction did not require proof of actual trade secrets.” Id.

                    The Ninth Circuit rejected the defendant’s argument, explaining that




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                    because the grand jury indicted him for theft of trade secrets, in

                    violation of 18 U.S.C. § 1832(a), which requires that he “knowingly”

                    stole trade secrets, the grand jury would have necessarily indicted

                    him on the lesser standard of “firmly believ[ing]” that he was stealing

                    trade secrets. See id. at 1044–45. The Nosal court did not have occasion

                    to assess, nor did it opine on, whether conspiracy to commit theft of

                    trade secrets requires that the defendant “firmly believed” that he was

                    misappropriating trade secrets.

                            Indeed, less than one year later, the Ninth Circuit, in a case

                    where the defendant was convicted of both conspiracy to commit

                    economic espionage and conspiracy to commit theft of trade secrets,

                    did not find any error in the district court instructing the jury that the

                    defendant     must   have    “reasonably     believed”    that   he   was

                    misappropriating trade secrets to be found guilty of the conspiracy

                    charges. See United States v. Liew, 856 F.3d 585, 594, 600 (9th Cir. 2017).

                    Cf. United States v. Shi, 991 F.3d 198, 209–10 (D.C. Cir. 2021) (turning




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                    away a challenge to jury instructions that included the “reasonably

                    believed” standard in a § 1832 case because the defendant had not

                    objected to the instructions either before the district court or on

                    appeal).

                            The Nosal and Liew courts did not focus on whether the district

                    court in each case properly instructed the jury on whether the

                    defendant had to have a more specific type of belief—whether firm,

                    reasonable, or otherwise—to be found guilty of conspiracy to commit

                    economic espionage or theft of trade secrets. Rather, those courts

                    agreed that for a conspiracy offense, all that matters is the facts as the

                    defendant believed them to be. See Nosal, 844 F.3d at 1044–45; Liew,

                    856 F.3d at 600. And nothing in § 1831(a)(5) suggests it requires a

                    special mens rea in this respect—all the statute speaks about is

                    conspiring “to commit any offense described in any of paragraphs (1)

                    through (3).” 18 U.S.C. § 1831(a)(5). Thus, to find Zheng guilty of

                    conspiracy to commit economic espionage, the jury needed to find




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                    that Zheng believed that the material he was misappropriating were

                    GE trade secrets, regardless of whether his belief turned out to be

                    accurate. Accordingly, the district court did not err in failing to

                    instruct the jury that Zheng had to have a “firm” belief that he was

                    dealing in trade secrets. 6

                            C. Zheng’s Sentence

                            Lastly, Zheng argues that the district court erred in calculating

                    his advisory Guidelines range because it relied on the Guidelines

                    commentary to use “intended loss,” as opposed to “actual loss,” when

                    determining the “loss” amount under U.S.S.G. § 2B1.1(b)(1), which

                    resulted in a 14-level enhancement to his Guidelines sentencing

                    range. See U.S.S.G. § 2B1.1 cmt. n.3(A) (“[L]oss is the greater of actual



                            6 Zheng only argues that the district court should have instructed the jury
                    that his belief must have been “firm.” It is not altogether clear to us why the
                    district court instructed the jury that Zheng had to have “reasonably” believed that
                    what he misappropriated were trade secrets. App’x at 1648. Perhaps the court
                    simply concluded that it was a safe bet to use the instructions in Liew and Shi,
                    which included the word “reasonably,” since the convictions in those cases were
                    affirmed on appeal. The parties here do not make any arguments about whether
                    the defendant’s belief had to be “reasonable,” and so we express no view on that
                    point.




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                    loss or intended loss.”). The premise of Zheng’s argument is that after

                    Kisor v. Wilkie, 588 U.S. 558 (2019), the Guidelines commentary is no

                    longer “authoritative,” Stinson v. United States, 508 U.S. 36, 38 (1993),

                    and may be deferred to only if, after exhausting all tools of statutory

                    interpretation, a Guideline remains “genuinely ambiguous,” Kisor,

                    588 U.S. at 573. In the context of § 2B1.1, Zheng argues that “loss” is

                    not genuinely ambiguous, and unambiguously means actual loss.

                            We recently rejected this proposition in United States v. Rainford,

                    No. 20-359, 2024 WL 3628082 (2d Cir. Aug. 2, 2024). As we explained

                    there, this Court is obliged to adhere to Stinson, and thus to treat the

                    Guidelines commentary as authoritative, for two reasons. Id. at *7 n.5.

                    First, only the Supreme Court may overrule its own decisions, and it

                    has not overruled Stinson.       Id.    Second, because the Sentencing

                    Commission adopts the Guidelines and the commentary as “‘a

                    reticulated whole’” that should be read as such, the commentary

                    qualifies as an authoritative source of interpretation under Kisor. Id.




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                    (quoting United States v. Moses, 23 F.4th 347, 355 (4th Cir. 2022)).

                    Accordingly, it was proper for the district court to defer to the

                    Guidelines commentary interpreting “loss” in § 2B1.1(b)(1).

                            Further, Zheng does not challenge the district court’s actual

                    calculation of the intended loss in this case, only the district court’s

                    general use of it. Thus, because the district court, relying on the

                    Guidelines commentary, properly used intended loss when

                    calculating Zheng’s Guidelines sentencing range, we find no error in

                    the 14-level enhancement the district court added based on the loss

                    that Zheng intended to cause.

                    III.    Conclusion

                            In sum, we hold as follows:

                               1. 18 U.S.C. § 1831(a) does not require proof beyond a
                                  reasonable doubt that the “benefit” to a foreign
                                  government, instrumentality, or agent resulted from
                                  foreign government sponsored or coordinated
                                  intelligence activity. Accordingly, there was sufficient
                                  evidence to convict Zheng of conspiracy to commit
                                  economic espionage, in violation of 18 U.S.C.
                                  § 1831(a)(5).




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                               2. The district court properly instructed the jury on the
                                  elements of conspiracy to commit economic espionage,
                                  in violation of 18 U.S.C. § 1831(a)(5). That crime does not
                                  require proof of foreign government sponsored or
                                  coordinated intelligence activity, and Zheng’s guilt
                                  depended on the facts as he believed them to be.

                               3. The district court properly deferred to the Guidelines
                                  commentary interpreting “loss” in U.S.S.G. § 2B1.1.
                                  Therefore, the district court, when calculating Zheng’s
                                  Guidelines sentencing range, did not err in adding a 14-
                                  level enhancement based on the loss that Zheng intended
                                  to cause.

                            Accordingly, we AFFIRM the judgment of the district court.




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